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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                             Case No.: 2:10-cr-136-FtM-29SPC

JOSEPH STELLA
_______________________________________


                                              ORDER

       This matter comes before the Court on the Motion for Bond (Doc. #94) filed on June 9, 2011.

On June 14, 2011, the Court held a hearing on the Defendant’s request for release. David Brener,

Esq., appeared on behalf of the Defendant. Tama Calderone, Assistant United States Attorney,

appeared on behalf of the Government.

       As a matter of background, the Defendant was taken into custody in New Mexico and

brought before the Court in the District of New Mexico. The issue of detention was addressed and

the Court ordered the Defendant detained for transport to the Middle District of Florida. Upon

arrival to the Middle District, the Honorable Douglas Frazier indicated an order of detention was

issued and therefore, did not hold a detention hearing. The Defendant now moves the Court for the

imposition of bond.

       Defense Counsel argues there has been a substantial change in circumstances regarding the

Defendant’s medical health and treatment. Counsel states the Defendant’s health is deteriorating and

the jail is ill-equipped to deal with the complicated medications, dietary restrictions and procedures

necessary for the Defendant’s well-being. Although there are no significant ties to the community,

the Defendant states his girlfriend of seven years is willing to move to the Fort Myers area, rent an

apartment locally, and his father is willing to co-sign on a bond. Further, he is willing to follow any
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instructions the Court imposes to assure his presence at future proceedings. The Defendant’s

criminal history does not show any arrests in approximately 25 years. Further, the co-defendants in

this case have been granted bond.

           The Government argued that the Defendant has not overcome the burden in this case and is

considered a risk of flight. His father is an elderly man, the Defendant does not have any contact

with his sister, and his brother who lives in Miami is a co-defendant in this case. The Defendant has

been living on and off in New Mexico and using his brother’s identification for approximately 10

years. The Defendant has traveled freely outside of the country and has the financial resources to

change residence location until the case has a resolution. Given the nature of the case and the lack

of ties to the community, the Government argues detention is appropriate.

           The Court has considered the pretrial services report, the nature of the case, the argument of

Counsel and the testimony of the Defendant. The Defendant has given the Court a number of

options to establish ties to the community, including the relocation of his girlfriend. However, there

have been no concrete actions made to establish ties to the community to date. The Defendant’s

father did not appear in court to testify to the fact that he would be willing to co-sign on a bond. The

Court cannot fashion a bond on the supposition that an individual would relocate or that ties to the

community “can” be established. Therefore, the Motion is due to be denied without prejudice.

           The Court recognizes the urgency of the defendant’s health problems and directs the U.S.

Marshals to instruct the jail to consider issuing the Defendant’s medications throughout the day as

instructed by the Doctor and to adhere to the Defendant’s dietary restrictions to the best of their

ability.

           Accordingly, it is now


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       ORDERED:

       The Motion for Bond (Doc. #94) is DENIED without prejudice.

       DONE AND ORDERED at Fort Myers, Florida, this     16th        day of June, 2011.




Copies: All Parties of Record
        U.S. Marshal




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